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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )           8:09CR453
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
JUAN MANUEL SANDOVAL,                             )
                                                  )
                     Defendant.                   )
       This matter is before the court on the motion to continue by the government (Filing
No. 42). The government seeks a continuance of the trial of this matter which is scheduled
for June 1, 2010. Trial of this matter was reset for June 1, 2010 on March 26, 2010 (Filing
No. 39). This motion is made almost at the eve of trial. The government makes no
showing of what action the government took to insure the presence of material witnesses
since resetting of this matter for trial on March 26, 2010, or if there has been an emergency
involved in the scheduling of witnesses. Further, there are two other co-defendants in this
matter and the motion is silent as to them. The court is unpersuaded that release of a
defendant previously ordered detained as a flight risk and a danger to the community is
warranted solely on the basis of a continuance of trial. Upon consideration, the motion is
denied.


       IT IS SO ORDERED.
                                      ADMONITION
       Pursuant to NECrimR 59.2 any appeal of this Order shall be filed with the Clerk of
the Court within fourteen (14) days after being served with a copy of this Order. Failure to
timely appeal may constitute a waiver of any objection to the Order. The brief in support
of any appeal shall be filed at the time of filing such appeal. Failure to file a brief in
support of any appeal may be deemed an abandonment of the appeal.
       DATED this 26th day of May, 2010.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
